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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1009V
                                        UNPUBLISHED


    STACIA EZELL,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: December 1, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

       On July 15, 2019, Stacia Ezell filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered a right shoulder injury related to vaccine
administration (“SIRVA”) caused by the influenza vaccine on October 9, 2017. Petition at
1, ¶¶ 2, 15. Petitioner further alleges that she received the vaccination in the United
States, that she suffered the residual effects of her SIRVA for more than six months, and
that neither she nor any other party has filed a civil action or received compensation for
her SIRVA, alleged as vaccine caused. Id. at ¶¶ 2, 15-17. The case was assigned to the
Special Processing Unit of the Office of Special Masters.



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        On November 30, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent agrees that “[P]etitioner has satisfied the criteria set
forth in the revised Vaccine Injury Table and the Qualifications and Aids to Interpretation,
which afford petitioners a presumption of causation if onset of SIRVA occurs within forty-
eight hours after receipt of a seasonal flu vaccination and there is no apparent alternative
cause.” Id. at 4-5. Respondent further agrees that “based on the case record as it now
stands, [P]etitioner has satisfied all legal prerequisites for compensation under the Act.”
Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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